March 11, 2005


Ms. Pamela Stanton Baron
P.O. Box 5573
Austin, TX 78763

Mr. Ben Taylor
Fulbright &amp; Jaworski L.L.P.
2200 Ross Ave., Suite 2800
Dallas, TX 75201
Mr. John Anaipakos
Baker &amp; Botts L.L.P.
910 Louisiana St., One Shell Plaza
Houston, TX 77002-4995

RE:   Case Number:  03-0469
      Court of Appeals Number:  01-02-01054-CV
      Trial Court Number:  2002-21820

Style:      JANNETE GONZALEZ, AS DEPENDENT ADMINISTRATOR OF THE ESTATE OF
      GUADALUPE GONZALEZ, JR., DECEASED
      v.
      RELIANT ENERGY, INC.

Dear Counsel:

      Today the Supreme Court of Texas delivered the  enclosed  opinion  and
judgment in the above-referenced cause.

                                       Sincerely,
                                       [pic]


                                       Andrew Weber, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Mr. Charles       |
|   |Bacarisse         |
|   |Ms. Margie        |
|   |Thompson          |

